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EXHIBIT “A”
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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA

 

PATRICK RYAN BRAY,
Plaintiff,
No. 8:14-cv-00332-SDM-TBM
v.

BANK OF AMERICA,

Defendant.

 

DEFENDANT BANK OF AMERICA, N.A.’S RESPONSES TO PLAINTIFF
PATRICK RYAN BRAY’S FIRST SET OF INTERROGATORIES
DIRECTED TO DEFENDANT BANK OF AMERICA (BANA)

Pursuant to Rule 33(b) of the Federal Rules of Civil Procedure Local Rule 3.03(a) of the
United States District Court for the Middle District of Florida, Defendant Bank of America, N.A.
(“BANA”), by its undersigned attorneys, hereby responds and objects to Plaintiff Patrick Ryan
Bray’s First Set of Interrogatories Directed to Defendant Bank of America (BANA) (“the
Discovery Requests”). These responses and objections reflect BANA’s current knowledge and
the results of its investigation to date. BANA reserves the right lo amend and/or supplement
these responses up to and including the time of the trial of this matter.
GENERAL OBJECTIONS

Defendant BANA makes the following gencral objections to Plaintiff's Discovery

Requests:

1. The Discovery Requests seek the disclosure of documents that are protected by

the attorney-client privilege and/or the work product doctrine. Any disclosure of privileged or
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protected information is inadvertent, involuntary and unintentional, and is not intended to be a
waiver of any privileges or protections.

2. The Discovery Requests and the definitions therein seek to impose a greater
burden than is permitted by the Federal Rules of Civil Procedure.

3. The definitions in the Discovery Requests do not define Defendant BANA. For
purposes of these responses and objections, BANA shall mean Bank of America, N.A., a
National Banking Association with its principal place of business in Charlotte, North Carolina.

4. BANA objects to, and will not produce, documents or witness testimony
protected by, any applicable privilege, protection, and/or immunity, including but not limited to
Suspicious Activity Reports (“SAR”) and any SAR decisioning information, the existence of
which BANA is prohibited from disclosing under 31 U.S.C. § 5318(g), 31 C.F.R. § 1020.320(¢),
12 C.F.R. § 21.11(k), or other applicable laws, rules, or regulations. To the extent that any
request purports to seck information that BANA is legally barred from producing and disclosing
the existence of, BANA objects to identifying any such information. Nothing herein shall be
deemed an acknowledgement that such information exists.

5, Each and every response to Plaintiff's Discovery Requests is intended to include
the general objections stated above. No response is intended to be a waiver of these objections.
Additional specific objections made in response to a particular Discovery Request are not
intended to, and do not, waive these general objections.

6. Each and every person identified as a current employee of BANA may be
contacted through Defendant’s counsel only. Likewise, all former managers of BANA and/or
other former employees of BANA who have legal authority to bind BANA may be contacted

through Defendant’s counsel only.
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7. BANA reserves the right to object at trial to the admissibility of any of the
information or documents produced in response to the Discovery Requests.

8. BANA reserves the right to supplement and/or amend its responses to Plaintiff's
Discovery Requests up to and including the time of the trial of this matter.

RESPONSES TO INTERROGATORIES

l. Identify each and every person providing substantive assistance or answers to
these interrogatories. Please specify which interrogatories each person assisted with. As
part of your response, identify the name, address and telephone number of the person or
persons in the answering of these interrogatories.
ANSWER: Subject to and without waiving the general objections, a corporate
representative of BANA will sign a verification in accordance with Rule
33 of the Federal Rules of Civil Procedure.
2. Identify all persons who are believed to or known by you, your agents, or your
attorneys to have any knowledge concerning any of these issues in this lawsuit, and
specify the subject matter about which the witness has knowledge.

ANSWER: Subject to and without waiving the general objections, see BANA’s Rule
26(a)(1) Initial Disclosures filed on May 7, 2014.

3. Describe in detail when the Defendant was first made aware of the Plaintiff’s
allegations of a violation of the BHCA Anti-Tying law as described in his complaint. As
part of your response describe and identify each person or entity you know or believe to
possess or maintain control in the past or at the present time over any document which
contains any information, communications, and documents that support the timeline as to

when the Defendant was made aware.
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ANSWER:

4,

Subject to and without waiving the general objections, on April 15, 2010,
Bray emailed Stephen J. Bode, Kevin Knopf, Brian Ludwick, and Sean
Farrell stating that it was his “understanding that demanding the assets be
held at M.L. or BofA to complete a loan would be considered tying... .”
See documents that will be produced in response to the subpoena BANA
issued to Merrill Lynch.

Other than your attorney, identify each person with whom you have had

communication of any type regarding the subject matter of the litigation. For cach

person, identify the type or medium of communication, date(s), who initiated contact, and

the subject matter of the communication.

ANSWER:

5.

BANA objects to this request because it is vague, overbroad, ambiguous,
and lacks sufficient particularity for BANA to give an adequate response.
BANA further objects to this request to the extent it seeks information that
is irrelevant and not reasonably calculated to lead to the discovery of
admissible evidence. Subject to and without waiving the foregoing and
general objections, see Response to Interrogatory No. 2 for those people
who have knowledge concerning the relevant issues in this lawsuit.

Identify each and every current or former employee of Defendant who has

testified under oath with respect to Plaintiffs allegations in any forum outside of this

complaint. For each current or former employee of Defendant, identify whether he or she

were a witness for Plaintiff, Defendant and/or both parties, the type of action, the

jurisdiction, date of action, case number, and outcome of that action.

ANSWER:

6.

Subject to and without waiving the genera] objections, the following
individuals testified in the action captioned, Merrill Lynch, Pierce, Fenner
& Smith, Incorporated v. Patrick Ryan Bray, FINRA Case No. 12-00084:

e Kevin Knopf;
* Stephen Bode; and
e Brian Dean Ludwick.

Identify Defendant’s policies and procedures as it relates to investigating an

allegation of a violation of a Federal Law. As part of your response identify any and all

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documentation that supports the Defendant’s own internal investigation into the

Plaintiff's claims of this action.

ANSWER:

7.

BANA objects to this request, including the phrase “violation of a Federal
Law,” because il is vague, overbroad, ambiguous, and Jacks sufficient
particularity. By way of explanation, BANA is subject to thousands of
Federal regulations and laws. It would be impossible and unduly
burdensome for BANA to provide a response to how it investigates
alleged violations of the Federal regulations and laws it is subject to.
BANA further objects to this request because it seeks information that is
irrelevant and not reasonably calculated to lead to the discovery of
admissible evidence. Subject to and without waiving the foregoing and
general objections, BANA is producing the following policies and
procedures that relate to Bray’s allegations in his Complaint related to his
Federal Anti-Tying allegation:

2009 Anti-tying course material;

“An Anti-tying Primer 2010”;

“An Anti-tying Primer 2011”;

“An Anti-tying Primer 2012”;

“An Anti-tying Primer 2013”, and

“Dealing with Customers” excerpt from “Enterprise Chapter:
Legal.”

Please describe if there was at anytime a violation of Defendant’s own policies

and procedures by a current or former employee(s) as it relates to the collateralization of

the loan that is described in Plaintiff's original complaint from the time period 2008 to

the present. As part of your response, identify the date of each violation(s), including but

not limited to the outcome of each violation.

ANSWER:

8.

There were no violations of BANA’s policies with respect to the line of
credit offered to Maritz from the time period 2008 to the present.

Identify al! training material(s), memorandum(s), email(s), and communication(s)

of Defendant as it relates specifically to its own Anti-Tying policies and procedures from

the time period 2006 to the present. As part of your response, please identify the
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name(s), title(s), date(s), position(s), and contact information of each author and whether

the author(s) were employees of Defendant.

ANSWER: BANA objects to the time period of 2006 to the present. The relevant
time period is January 2009 through March 2012. Subject to and without
waiving the foregoing and general objections, see Response to
Interrogatory No. 6 identifying BANA’s training materials related to Anti-
Tying. Additionally, further responsive emails and communications will
be produced in response to the subpoena BANA issued to Merrill Lynch.
BANA’s investigation is ongoing, and BANA will supplement its
response to this interrogatory as appropriate.

9. Please identify and describe in detail the type of loan that the Defendant prepared

for Maritz that is specific to the loan identified in Plaintiff's complaint. As part of your

response, identify the type of loan prepared for Maritz, ie. construction loan, an

equipment loan, a fully underwritten syndicated commercial loan, a securities based loan,

a margin account, etc.

ANSWER: Maritz and the banking syndicate, which included BANA as the

Administrative Agent, entered into an amended credit agreement — the
Third Amendment to Second Amended and Restated Credit Agreement
dated October 30, 2009, whereby Maritz’s overall line of credit was
reduced from $125,000,000 to $85,000,000, and the price of utilizing this
credit line was increased. The terms and conditions of the loan prepared
for Maritz identified in Plaintiff's complaint are described in detail in the

following documents:

* Second Amended and Restated Credit Agreement; and
e Third Amendment to the Second Amended and Restated Credit
Agreement.

10. Please identify and describe any and all loans from 2007 to present that were
prepared where the Defendant acted as the Administrative Agent, the lead lender of a
loan or the only lender of a loan, and required securities such as stocks, bonds, and non-
money market mutual funds to not only be collateralized and pledged but mandated these

securities be held at an affiliate as a requirement of the loan.

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ANSWER: BANA objects to this request because it is vague, overbroad, ambiguous,
and lacks sufficient particularity for BANA to give an adequate response.
BANA further objects to this request to the extent it seeks information that
is irrelevant and not reasonably calculated to lead to the discovery of
admissible evidence.

1]. Describe in detail if Defendant through its policies and procedures consider Bond
Mutual Funds as a traditional banking and/or consider it a product that is an acceptable
asset to be required to be placed at an affiliate for security of a loan and not violate the
Anti-tying provisions of the BHCA law. As part of your response, identify all
documentation to support your answer.
ANSWER: BANA objects to this request because it calls for a legal conclusion.
BANA further objects to this request because it seeks information that is
irrelevant and not reasonably calculated to lead to the discovery of
admissible evidence, Rather, BANA asserts, among other things, that the
Bond Mutual Funds were an acceptable asset for BANA, in its role as
administrative agent, to require Maritz to hold as collateral at its broker-

dealer affiliate, Merrill Lynch. See policies referred to in response to
Interrogatory No, 6.

12. Please identify and describe whether or not Defendant accepts collateral
assignment of securities held at other financial institutions outside of their affiliates or
Bank of America’s umbrella to protect Defendant’s loan and if so, identify from 2007 to
the present. As part of your response, identify each and every collateral assignment of

securities held at other financial institutions outside of their affiliates or Bank of

America’s umbrella,

ANSWER: BANA objects to this request because it is overbroad and unduly
burdensome. BANA further objects to this request because it seeks
information that is irrelevant and not reasonably calculated to lead to the
discovery of admissible evidence. By way of explanation, this request, as
written, would require BANA to go through and analyze thousands of
loans issued during this time period.
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}3.

Please describe in detail any extra protection afforded to the Defendant to protect

its loan by having assets pledged by its affiliate versus a competitor of its affiliate. As

part of your response, identify Defendant’s policies and procedures as it relates to the

ability of the Defendant to have any extra benefits of security by having assets held by

Merrill Lynch versus Wells Fargo or any other broker/dealer for that matter.

ANSWER:

14.

As Plaintiff is aware, several witnesses provided extensive testimony on
this topic, subject to cross examination, in the action captioned, Merrill
Lynch, Pierce. Fenner & Smith. Incorporated v. Patrick Ryan Bray,
FINRA Case No. 12-00084, BANA refers to the transcripts that Plaintiff
and his former attorneys from this action possess. Additionally, the
transcripts from this action will be produced in response to the subpoena
BANA issued to Merrill Lynch.

Identify and describe each loan in the past 10 years the Defendant had securities

collateralized from another broker/dealer that were re-pledged without consent of the

Defendant to a competitor banks foan putting the Defendant’s loan in a position of its

collateral being minimized (in other words having the same money collateralized

multiple times without the Defendant’s authorization). As part of your response, identify

how many times this has occurred from Defendant’s own affiliates in the past 10 years.

ANSWER:

BANA objects to this request because it is overbroad and unduly
burdensome. BANA further objects to this request because it seeks
information that is irrelevant and not reasonably calculated to lead to the
discovery of admissible evidence. By way of explanation, this request, as
written, would require BANA to go through and analyze thousands of
loans issued during this time period. Additionally, this request is
incapable of a response because if the securities were “re-pledged without
consent of [BANA],” BANA may not be aware that it happened and thus
cannot provide an accurate response to this request.
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15. Please identify whether it is mandatory for Defendant’s employees who prepare
loans such as Stephen Bode and Kevin Knopf to be securities licensed and be dually

employed by its affiliate and if so why?

ANSWER: No.
16. Describe in detail the total compensation plan of Defendant’s employee(s),

including but not limited to Stephen Bode and Kevin Knopf as it relates to referrals to an
affiliate. As part of your response, identify the overall bonus structure for Defendant
employee(s), such as Stephen Bode and Kevin Knopf and state if referrals generate or
could generate any extra revenue in any way for the employee that made the referral.

ANSWER: As Plaintiff is aware, Stephen Bode and Kevin Knopf provided extensive
testimony on this topic, subject to cross examination, in the action
captioned, Merrill Lynch, Pierce, Fenner & Smith, Incorporated v. Patrick
Ryan Bray, FINRA Case No. 12-00084. BANA refers to the transcripts
that Plaintiff and his attorneys from this action possess. Additionally, the
transcripts from this action will be produced in response to the subpoena
BANA issued to Merrill Lynch.

17. Please identify and describe in detail Defendant’s policies and procedures as it
relates from the origination of a loan through the finalization of the loan such as the one
identified in Plaintiff's complaint. As part of your response, describe whether ail policies
in this particular loan were followed and nothing went against the Defendant’s own
policies such as but not limited to whether Internal Counsel was ever asked to get

involved.

ANSWER: BANA objects to this request because it is overbroad and unduly
burdensome. BANA further objects to this request because it seeks
information that is irrelevant and not reasonably calculated to lead to the
discovery of admissible evidence. By way of explanation, BANA
originates thousands of loans throughout its business as well as many
different types of loans. Therefore, Bray’s request to identify BANA’s
policies and procedures as it relates to the origination of a loan through the
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18.

finalization of a loan is incapable of a response. Subject to and without
waiving the foregoing and general objections, BANA is producing the
following policies and procedures identified in response to Interrogatory
No. 6 that relate only to the origination of the loan through the finalization
of the loan identified in Bray’s Complaint.

Please identify and describe in detail when the Defendant first became aware that

the assets that were pledged that are in question in the Plaintiff's complaint should have

never been pledged in the first place as most of the monies that were pledged were not an

asset of the company but acted more as a float for monies that were already spoken for

and purchased by the general public on transactional gift cards. As part of your response,

describe Defendant’s due diligence that was taken to identify the source of the said assets

held in bond mutual funds.

ANSWER:

19,

BANA objects to this request because it seeks information that is
irrelevant and not reasonably calculated to lead to the discovery of
admissible evidence. Subject to and without waiving the foregoing and
general objections, as Plaintiff is aware, several witnesses provided
extensive testimony on this topic, subject to cross examination, in the
action captioned, Merrill Lynch, Pierce, Fenner & Smith, Incorporated v.
Patrick Ryan Bray, FINRA Case No. 12-00084. BANA refers to the
transcripts that Plaintiff and his attorneys from this action possess.
Additionally, the transcripts from this action will be produced in response
to the subpoena BANA issued to Merrill Lynch.

Please identify and describe in detail as to whether it was the Defendant or Maritz

that originally offered or made a requirement that the bond mutual funds collateralized in

the loan in question of the Plaintiff's complaint be held at Defendant’s affiliate.

ANSWER:

As Plaintiff is aware, several witnesses provided extensive testimony,
subject to cross examination, in the action captioned, Merril Lynch,
Pierce, Fenner & Smith. Incorporated v. Patrick Ryan Bray, FINRA Case
No. 12-00084, on the requirement to hold bond mutual funds as collateral
at BANA’s broker-dealer affiliate, Merrill Lynch, and the negotiations that
took place regarding the collateralization of these assets.

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20. Please identify and describe the security file concerning the investigation of
Plaintiff's alleged threat(s) against employee(s) of Defendant. As part of your response
describe the conclusion or outcome of the investigation.

ANSWER: Subject to and without waiving the general objections, BANA refers

Plaintiff to the security file contained in the documents responsive to the
subpoena BANA issued to Merrill Lynch.

21, Please identify and describe if Defendant finds it acceptable through its policies
and procedures for one or more of its employee(s) to make false and unsubstantiated
allegations including but not limited to alleged death threat(s) to a mutual client or to
anyone for that matter to elicit a response to damage the credibility and relationship of a
competitor of the Defendant.

ANSWER: Asa preliminary matter, this Interrogatory misstates the facts. Subject to

and without waiving the foregoing and general objections, BANA will
produce:

e 2010 Bank of American Corporation Code of Ethics.

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22. Please identify and describe in detail if it was ever discovered that Maritz over the
past ten (10) years ever falsified, made misleading statements of facts or did any wrong
doings as it relates to information given to Defendant in order for them getting the loans
approved by the Defendant which would have otherwise if known different by Defendant
have changed the outcome of the terms of the loan or in any way have made the
Defendant decline the loan if the information presented was different.

ANSWER: BANA objects to this request because it is impossible for BANA to
respond whether in the last ten years Maritz ever falsified, made
misleading statements of fact, or did any wrong doings related to
information given to BANA for Maritz to get any loan approved by
BANA. To the best of our knowledge, as those terms are understood,
Maritz never falsified, made misleading statements of fact, or did any
wrongdoing as il relates to the Second Amended Credit Agreement.
Furthermore, it would be pure speculation for BANA to identify whether
the terms of the Maritz loan would have changed or whether it would have
declined the Maritz loan if the information presented was different. By
way of further response, in 2009, Maritz had defaulted on certain financial
covenants in its credit agreement with BANA. See transcripts from the
Bray v. Merrill Lynch action that will be produced in response to the
subpoena BANA issued to Merrill Lynch.

23. Please identify and describe in detail if prior to or since the allegations of a
violation by the Plaintiff by Defendant of the BHCA Anti-Tying Law whether the
Defendant ever requested an opinion letter from the FED Board of Governors to see if the
allegations in the Plaintiff's complaint is deemed an appropriate product and practice or
explain where in Defendant’s policies and procedures it is locatable that it is and
approved product and practice by the FED.

ANSWER: Subject to and without waiving the general objections, BANA has never

written to the Federal Reserve Board concerning the allegations in
Plaintiff's Complaint.

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24. Please identify and describe in detail if the Control portion of the collateral

assignment, of the assets pledged by Defendant’s affiliate, were ever exercised and if

Defendant ever had control of the assets in question in Plaintiff's complaint.

ANSWER:

Date: July 2, 2014

   
 

BANA objects to this request because it is vague, ambiguous, and it is
unclear what the Plaintiff is asking. Subject to and without waiving the
foregoing and general objections, upon information and belief, BANA
never exercised its rights contained in the Notice of Exclusive Control
provision of the Control Agreement in effect in March 2010.

Respectfully submitted,

Me E, Fulton

orida Bar ID #97920

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Attorneys for Bank of America, N.A.

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VERIFICATION

 

l, Brenda Brewer, declare and state:

Tama Vice President of Bank of America, N.A., the Defendant in this action. Lam duly
authorized by the Bank to verity the foregoing DEFENDANT BANK OF AMER] CA,N.A'S,
Responses to Plaintiff Patrick Ryan Bray's First Set of Interrogatories Directed to Defendant Bank of
America, on its behalf and hereby do so. The facts and matters stated therein are not within my personal
knowledge or of any one individual at the Bank; rather, the facts stated thercin have been assembled, on
behalf of the Bank and with the assistance of counsel, by authorized employees of the Bank with
personal knowledge of the subject matter of the response and/or information and belief as to the truth
and/or accuracy thereof,

Subject to the terms of this verification, Bank of America, N.A., declares, under penalty of

perjury, that the foregoing responses are true and correct to the best of its knowledge and betiel.

~s,

 

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* Bank of America, N.A. 7
By Brenda J. Brewer, Vice “President
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CERTIFICATE OF SERVICE
I hereby certify that, on July 2, 2014, a copy of the foregoing Responses to Plaintiff
Patrick Ryan Bray’s First Set of Interrogatories Directed to Defendant Bank of America (BANA)
was served via email and overnight delivery by United Parcel Service as follows:
Patrick Ryan Bray
4007 Riverview Blvd.
Bradenton, Florida 34209

pryanbray@msn.com

Plaintiff

   

 

Jawelle E. Fulton
